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 1   Joseph G. Petrosinelli, pro hac vice
     Ashley W. Hardin, pro hac vice
 2   WILLIAMS & CONNOLLY LLP
 3   680 Maine Avenue, SW
     Washington, DC 20024
 4   Telephone: +1 (202) 434-5000
     jpetrosinelli@wc.com
 5   ahardin@wc.com
 6   Attorneys for Defendants YouTube, LLC,
 7   Google LLC, and Alphabet Inc.

 8                              UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
10

11    IN RE: SOCIAL MEDIA ADOLESCENT                          MDL No. 3047
      ADDICTION/PERSONAL INJURY PRODUCTS
12    LIABILITY LITIGATION                                    Case No. 4:22-md-03047-YGR (PHK)

13    This Document Relates To:                               Judge: Hon. Yvonne Gonzalez Rogers

14    The School Board of Hillsborough County, Florida        TEMPORARY SEALING MOTION
      v. Meta Platforms, Inc., et al., No. 24-cv-01573        (DEFENDANTS’ MOTION TO
15                                                            PRECLUDE PLAINTIFFS FROM
      Board of Education of Jordan School District v.         RELYING ON LATE-DISCLOSED
16    Meta Platforms, Inc., et al., No. 24-cv-01377           SCHOOL DISTRICT WITNESSES)

17    Tucson Unified School District v. Meta Platforms,
      Inc., et al., No. 24-cv-01382
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                                                                           Case No. 4:22-MD-03047-YGR
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 1          Pursuant to the Court’s Order Setting Sealing Procedures (ECF No. 341), undersigned
 2   Defendants file this Temporary Sealing Motion regarding Defendants’ Motion to Preclude
 3   Plaintiffs from Relying on Late-Disclosed Witnesses. Pursuant to that Order, the reasons for
 4   sealing (if any) will be addressed in a forthcoming omnibus stipulation or omnibus motion. By
 5   stating below that Plaintiffs may consider material to be confidential, Defendants are not taking a
 6   position regarding whether the material is in fact confidential.
 7
      Docket No.     Document                                   Whether Document Contains a
 8
                                                                Party’s Confidential Information
 9    1952-1         Defendants’ Motion to Preclude             Temporarily filing with redactions out
                     Plaintiffs from Relying on Late-           of an abundance of caution because
10
                     Disclosed School District Witnesses        document contains information that
11                   (Redacted)                                 Plaintiff Board of Education of Jordan
                                                                School District may consider to be
12                                                              confidential.
13    1952-2         Declaration of Joseph Sandoval-
                     Bushur (Not under seal)
14
      1952-3         Exhibit A (Sealed)                         Temporarily filing under seal out of an
15                                                              abundance of caution because
                                                                document contains information that
16                                                              Plaintiff the School Board of
                                                                Hillsborough County, Florida may
17                                                              consider to be confidential.
18    1952-4         Exhibit B (Sealed)                         Temporarily filing under seal out of an
                                                                abundance of caution because
19                                                              document contains information that
                                                                Plaintiff Board of Education of Jordan
20
                                                                School District may consider to be
21                                                              confidential.
      1952-5         Exhibit C (Sealed)                         Temporarily filing under seal out of an
22
                                                                abundance of caution because
23                                                              document contains information that
                                                                Plaintiff Tucson Unified School
24                                                              District may consider to be
                                                                confidential.
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      1952-6      Exhibit D (Sealed)                    Temporarily filing under seal out of an
 1
                                                        abundance of caution because
 2                                                      document contains information that
                                                        Plaintiff the School Board of
 3                                                      Hillsborough County, Florida may
                                                        consider to be confidential.
 4
      1952-7      Exhibit E (Sealed)                    Temporarily filing under seal out of an
 5                                                      abundance of caution because
                                                        document contains information that
 6                                                      Plaintiff Board of Education of Jordan
 7                                                      School District may consider to be
                                                        confidential.
 8    1952-8      Exhibit F (Sealed)                    Temporarily filing under seal out of an
 9                                                      abundance of caution because
                                                        document contains information that
10                                                      Plaintiff Tucson Unified School
                                                        District may consider to be
11                                                      confidential.
12    1952-9      Exhibit G (Sealed)                    Temporarily filing under seal because
                                                        document contains information that the
13                                                      parties may consider to be confidential.
14    1952-10     Exhibit H (Not under seal)
      1952-11     Exhibit I (Not under seal)
15
      1952-12     Exhibit J (Not under seal)
16
      1952-13     Exhibit K (Not under seal)
17
      1952-14     Exhibit L (Sealed)                    Temporarily filing under seal because
18                                                      document contains information that the
                                                        parties may consider to be confidential.
19
      1952-15     Exhibit M (Sealed)                    Temporarily filing under seal because
20                                                      document contains information that
                                                        Plaintiff Board of Education of Jordan
21                                                      School District may consider to be
                                                        confidential.
22
      1952-16     Proposed Order (Not under seal)
23

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 1   Dated: May 9, 2025                          By: /s/ Ashley W. Hardin
                                                 Joseph G. Petrosinelli, pro hac vice
 2                                               Ashley W. Hardin, pro hac vice
                                                 WILLIAMS & CONNOLLY LLP
 3
                                                 680 Maine Avenue, SW
 4                                               Washington, DC 20024
                                                 Telephone: +1 (202) 434-5000
 5                                               jpetrosinelli@wc.com
                                                 ahardin@wc.com
 6

 7                                               Attorneys for Defendants YouTube, LLC,
                                                 Google LLC, and Alphabet Inc.
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 1                              LOCAL RULE 5-1(i)(3) ATTESTATION
 2          I, Joseph Sandoval-Bushur, hereby attest in accordance with Local Rule 5-1(i)(3) that

 3   each signatory has concurred in the filing of the document.

 4   Dated: May 9, 2025                           By: /s/ Joseph Sandoval-Bushur
                                                  Joseph Sandoval-Bushur, pro hac vice
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                                                  Attorney for Defendants YouTube, LLC, Google
 6                                                LLC, and Alphabet Inc.
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 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that, in accordance with ECF No. 341, on May 9, 2025, this motion and
 3   all attachments thereto were served to the following email addresses:
 4          PSCServiceMDL3047@motleyrice.com
 5          MetaNoticeofService@cov.com
 6          SnapNoticeofService@mto.com
 7          TikTokNoticeofService@faegredrinker.com
 8          YouTubeServiceConfidentialDocs@wsgr.com
 9   Dated: May 9, 2025                           By: /s/ Joseph Sandoval-Bushur
                                                  Joseph Sandoval-Bushur, pro hac vice
10
                                                  Attorney for Defendants YouTube, LLC, Google
11                                                LLC, and Alphabet Inc.
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